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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


DONALD J. LANPHERE, JR.,                        )
                                                )            Civil Action No.: 10-4774
                      Plaintiff,                )
      v.                                        )
                                                )            Hon. Judge:
1 CORP. a/k/a 1 Corp. Apparel &                 )
      Promotional Solutions;                    )
GLOBAL TRADING SOLUTIONS, INC. a/k/a            )            Magistrate Judge:
      GTS Importers;                            )
TERRY SCWABE, individually and                  )
      as principal of 1 Corp.;                  )
TOM LAWRENCE, individually and                  )
      as principal of 1 Corp.;                  )
STEVE LUNDGREN, individually and                )
      as principal of Global Trading Solutions; )
                                                )
                      Defendants.               )
__________________________________________ )                 JURY TRIAL DEMANDED



               COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES


       Plaintiff DONALD J. LANPHERE, JR. (hereinafter “Don Lanphere”), by his undersigned

attorneys, for their complaint against Defendants 1 CORP., GLOBAL TRADING SOLUTIONS,

INC. (hereinafter “GTS”), TERRY SCHWABE, TOM LAWRENCE, and STEVE LUNDGREN

(hereinafter collectively “the Defendants”), states and alleges as follows:

                                         Cause of Action

       1. This action arises from the Defendants’ willful misappropriation of Don Lanphere’s rights

in and to his original, patented and highly distinctive Helmet-Shaped Hat With Facemask

(hereinafter “patented product”), and to the Defendants’ manufacturing, marketing, use and/or sale

of products that are wholesale imitations of Don Lanphere’s patent product.


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        2. This action is for design patent infringement under 35 U.S.C. §271 et seq., trade dress

infringement, unfair competition and false designation of origin, under 15 U.S.C. §1125(a), and

related state and common law claims. Don Lanphere seeks a preliminary and permanent injunction

and damages, including treble damages and attorneys’ fees for willfulness under 35 U.S.C. §284 and

§285 and 15 U.S.C. §1117, against the Defendants, preventing the Defendants from further

manufacture, use, importation, offer for sale, and/or sale of any and all products or the like which

infringe directly or indirectly upon Don Lanphere’s U.S. Patent Number D559,502S, his rights under

the Lanham Act and at common law, and from otherwise competing unfairly with Don Lanphere.



                                              Parties

        3. Plaintiff Don Lanphere is an individual, U.S. citizen residing at 1741 Ridgewood Ln. E.,

Glenview, Illinois 60025.

        4. Upon information and belief, Defendant 1 Corp. is a foreign corporation having a place of

business at 767 Fifty-Second Avenue, Suite 203, Moline, Illinois 61265.

        5. Upon information and belief, 1 Corp. has been, and is doing business in the state of

Illinois and within this judicial district.

        6. Upon information and belief, Defendant GTS is a foreign corporation having a place of

business at 8004 Reeder St., Overland Park, Kansas, 66214.

        7. Upon information and belief, GTS has been, and is doing business in the state of Illinois

and within this judicial district.

        8. Upon information and belief, Defendant Terry Schwabe is an individual, U.S. citizen

having an address at 767 Fifty-Second Avenue, Suite 203, Moline, Illinois 61265.


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        9. Upon information and belief, Terry Schwabe is a principal of 1 Corp. and is doing

business in the state of Illinois and within this judicial district through his company 1 Corp.

        10. Upon information and belief, Defendant Tom Lawrence is an individual, U.S. citizen

having an address at 767 Fifty-Second Avenue, Suite 203, Moline, Illinois 61265.

        11. Upon information and belief, Tom Lawrence is a principal of 1 Corp. and is doing

business in the state of Illinois and within this judicial district through his company 1 Corp.

        12. Upon information and belief, Defendant Steve Lundgren is an individual, U.S. citizen

having an address at 8004 Reeder St., Overland Park, Kansas, 66214.

        13. Upon information and belief, Steve Lundgren is a principal of GTS and is doing business

in the state of Illinois and within this judicial district through his company GTS.



                                      Jurisdiction and Venue

        14. This action arises under the provisions of 35 U.S.C. §1 et seq., and 15 U.S.C. §1125 et

seq.

        15. This Court has jurisdiction of these claims under, inter alia, the provisions of 35 U.S.C.

§271 et seq., and 15 U.S.C. §1501 et seq. and 28 U.S.C. §§1331 and 1338. This Court has

jurisdiction over the state law and common law claims in this action pursuant to 28 U.S.C. §1367(a)

because the state law and common law claims are so related to the federal claims that they form part

of the same case or controversy and derive from a common nucleus of operative facts.

        16. Venue is proper in this District under, inter alia, the provisions of Section 1391 and

1400 of Title 28, United States Code.




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                                        Background Facts

       17.     On January 15, 2008, United States Patent No. D559,502S (“the ‘502 patent”),

entitled “Helmet-Shaped Hat with Facemask,” was duly and legally issued to Don Lanphere, the

named inventor and sole owner of the subject matter claimed in the ‘502 patent. A true and correct

copy of the ‘502 patent is attached hereto as Exhibit A.

       18.     In the late summer/early fall of 2009, an acquaintance of Don Lanphere, Mr. Todd

Potter, introduced him to the principals of 1 Corp., Terry Schwabe and Tom Lawrence, who agreed

to secure for Don Lanphere the necessary licenses to gain accesses to the collegiate market for, and

to act as a distributor of the patented products. Terry Schwabe, Tom Lawrence and 1 Corp. accepted

an inventory of 10,000 of the patented products, after informing Don Lanphere that they would

quickly obtain the necessary licenses and begin distributing the patented products during the 2009

college football season.

       19.     The inventory of patented products each included a label bearing a patent marking

giving notice that the patented products are covered by the ‘502 patent. Upon information and

belief, all of the Defendants had actual notice of the ‘502 patent.

       20.     After the inventory of the patented products was ready for sale, Don Lanphere

repeatedly asked Terry Schwabe, Tom Lawrence and 1 Corp. when they would start distributing the

patented products. Terry Schwabe, Tom Lawrence and 1 Corp. repeatedly kept telling Don

Lanphere that they would start shipping the patented products within just a few days. Despite their

assurances that the patented products would soon be distributed, days turned to weeks and the

patented products were never distributed.




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       21.     Subsequently, Don Lanphere learned that Terry Schwabe, Tom Lawrence and 1 Corp.

never obtained any licenses for the patented products. On November 25, 2009, the day before

Thanksgiving, after having been repeatedly misled by Terry Schwabe, Tom Lawrence and 1 Corp.,

Don Lanphere rented a truck and drove approximately 200 miles to pick up the inventory of patented

products which were never distributed.

       22.     While driving to 1 Corp.’s warehouse on November 25, 2009, Don Lanphere called

Terry Schwabe, Tom Lawrence and 1 Corp. and informed them of his intention to pick up his

inventory. Thereafter, Terry Schwabe sent Don Lanphere an email indicating that 1 Corp. had

closed early that day, and that it would reopen on the following Monday.

       23.     Upon arriving at 1 Corp. that day, Don Lanphere learned that 1 Corp. had recently

changed all of the locks to the warehouse that held the inventory of patented products.

       24.     After several frantic phone calls from Don Lanphere, Terry Schwabe and Tom

Lawrence finally agreed to meet Don Lanphere at the warehouse. When they did, Terry Schwabe,

Tom Lawrence and 1 Corp. presented Don Lanphere with a list of charges (attached hereto as

Exhibit B), and demanded over $9,000 in highly questionable and/or trumped up fees, expenses

and/or costs before they would release the inventory to Don Lanphere.

       25.     Having rented a truck and having just driven over 200 miles, on the eve of

Thanksgiving, and feeling isolated, dejected, frightened, helpless and/or pressured by Terry

Schwabe, Tom Lawrence and 1 Corp., Don Lanphere caved into their demands under great duress.

Don Lanphere gave Terry Schwabe, Tom Lawrence and 1 Corp. his credit card, and they proceeded

to make four $2000 charges to his credit card ($8000 total) until it was maxed out. Don Lanphere

was then allowed to leave with his inventory of patented products.


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       26.     In late February 2010 or early March 2010, in a letter attached hereto as Exhibit C,

Don Lanphere demanded that the $8000 which Terry Schwabe, Tom Lawrence and 1 Corp. charged

to Don Lanphere’s credit card, be given back or returned to Don Lanphere.

       27.     Don Lanphere then learned, upon information and belief, that Terry Schwabe, Tom

Lawrence and/or 1 Corp. contacted Todd Potter and indicated that they were going to copy the

patented product and make and sell the patent product as their own. Attached hereto as Exhibit D is

a true and correct copy of the Declaration of Todd Potter attesting to the same.

       28.     Subsequently, during the spring/summer of 2010, Don Lanphere began the process of

obtaining licenses from several Big Ten schools for his patented product.

       29.     A few weeks ago, Don Lanphere received a call from the licensing department at

Northwestern University (hereinafter “NU”). NU asked Don Lanphere if they he had sold his patent

or if he was somehow affiliated with 1 Corp. and/or GTS since they had recently applied for a

license on the patented product as well.

       30.     Attached hereto as Exhibit E, is a photo of the helmet-shaped hat with facemask

which, upon information and belief, 1 Corp. and/or GTS is making and has applied for one or more

collegiate licenses and/or other licenses. Upon information and belief, this helmet-shaped hat with

facemask is substantially similar to and appropriates the point of novelty in the claimed design in the

‘502 patent, and appears to be a deliberate copy of the patented product.

       31.     On information and belief, the Defendants are infringing the ‘502 patent by making,

using, importing, offering for sale, and/or selling one or more products which infringe the ‘502

patent, including, but not limited to, the helmet-shaped hat with facemask depicted in Exhibit E, and

that this infringement is willful and deliberate.


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       32.      On information and belief, the Defendants intentionally and willfully have and

continue to manufacture, import, use, offer for sale and/or sell one or more infringing products,

despite having actual or at least constructive knowledge of the ‘502 patent.

       33.      Upon information and belief, the Defendants’ copying of Don Lanphere’s patented

product and design has caused actual confusion and is likely to cause confusion, to the detriment of

Don Lanphere.



                                             COUNT I

                             Patent Infringement of the ‘502 Patent

       34.      Don Lanphere repeats and realleges paragraphs 1-33 as though fully stated herein.

       35.     Through the conduct described above, the Defendants have infringed and continue to

infringe the ‘502 patent in violation of 35 U.S.C. §271 by importing, making, using, offering for sale

and/or selling in the United States one or more products embodying the patented invention.

       36.      Don Lanphere has given notice of the ‘502 patent to the Defendants, at least in the

manner required by 35 U.S.C. §287(a).

       37.      On information and belief, the Defendants’ actions constitute knowing and willful

infringement of the ‘502 patent.

       38.      As a result of the Defendants’ infringement, Don Lanphere has been and, unless

restrained by this Court, will continue to be irreparably harmed, damaged and injured.

       39.      This is an exceptional case pursuant to 35 U.S.C. §285.




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                                                  COUNT II

                                    Trade Dress Infringement,
                    Federal Unfair Competition and False Designation of Origin

         40.   Don Lanphere repeats and realleges paragraphs 1-39 as though fully stated herein.

         41.   The Defendants’ unauthorized copying and use of the distinctive and source

identifying trade dress in the patented product and patented design falsely indicates that Don

Lanphere or his agents are connected with, sponsored, endorsed, authorized, or approved by, or

affiliated with the Defendants, or that the Defendants are connected with, sponsored, endorsed,

authorized, or approved by, or affiliated with Don Lanphere.

         42.   The Defendants’ use of the distinctive and source identifying trade dress in the

patented product and patented design is likely to cause confusion, mistake or deception as to the

source or affiliation of the Defendants’ goods.

         43.   The acts of the Defendants complained of herein constitute a false designation of

origin, unfair competition and infringement, in violation of Section 43 of the Lanham Act, 15 U.S.C.

§1125.

         44.   On information and belief, the Defendants’ actions complained of herein were

committed willfully.

         45.   As a result of the foregoing alleged actions of the Defendants, the Defendants are

being unjustly enriched and Don Lanphere has been and is being injured and damaged. Unless the

foregoing alleged actions of the Defendants are restrained by this Court, Don Lanphere will continue

to be irreparably harmed, damaged and injured.




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                                                 COUNT III

                              Common Law Trade Dress Infringement,
                          Unfair Competition and False Designation of Origin

       46.      Don Lanphere repeats and realleges paragraphs 1-45 as though fully stated herein.

       47.     The acts of the Defendants complained of herein constitute infringement, false

designation of origin and unfair competition in violation of the common law.

       48.     On information and belief, the Defendants, with full knowledge of Don Lanphere’s

rights in and to the distinctive and source identifying trade dress in the patented product and patented

design, have committed the acts alleged herein willfully, with the intent to trade on, or in complete

disregard of Don Lanphere’s rights and the goodwill associated with the patented product.

       49.      As a result of the foregoing alleged actions of the Defendants, the Defendants are

being unjustly enriched and Don Lanphere has been and is being injured and damaged. Unless the

foregoing alleged actions of the Defendants are restrained by this Court, Don Lanphere will continue

to be irreparably harmed, damaged and injured.



                                             COUNT IV

                         Illinois Uniform Deceptive Trade Practices Act

       50.      Don Lanphere repeats and realleges paragraphs 1-49 as though fully stated herein.

       51.     By reason of the conduct described above, the Defendants have engaged in unlawful,

unfair and/or fraudulent ongoing business practices.

       52.      As a direct result of the Defendants’ unfair competition, the Defendants have

unlawfully acquired, and continue to acquire on an ongoing basis, an unfair competitive advantage

and have engaged, and continue to engage, in wrongful business conduct to their advantage and to

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the detriment of Don Lanphere and his rights.

       53.     The Defendants’ aforesaid unauthorized use of the distinctive and source identifying

trade dress in the patented product and patented design for their goods is likely to cause confusion,

mistake or deceit and has actually caused confusion, mistake or deceit as to the source, sponsorship,

approval, affiliation or connection by and between Don Lanphere’s and the Defendants’ goods and

will give rise to and has given rise to the incorrect belief that Don Lanphere and the Defendants have

some connection or affiliation, and dilutes the distinctive quality of Don Lanphere’s trade dress and

irreparably damages Don Lanphere’s goodwill and business, all in violation of the Illinois Uniform

Deceptive Trade Practices Act, 815 ILCS 510/2.

       54.     As a result of the foregoing alleged actions of the Defendants, the Defendants are

being unjustly enriched and Don Lanphere has been and is being injured and damaged. Unless the

foregoing alleged actions of the Defendants are restrained by this Court, Don Lanphere will continue

to be irreparably harmed, damaged and injured.



                                             COUNT V

                                    Common Law Conversion

       55.     Don Lanphere repeats and realleges paragraphs 1-54 as though fully stated herein.

       56.     Terry Schwabe, Tom Lawrence and 1 Corp. improperly obtained under false

pretenses and under duress, and wrongfully assumed control, dominion or ownership over the sum of

$8000 from Don Lanphere.

       57.     Terry Schwabe, Tom Lawrence and 1 Corp. were not and are not rightfully entitled to

the $8000 obtained from Don Lanphere. Instead, Don Lanphere has the right to the $8000 at issue.


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       58.     Don Lanphere has the absolute and unconditional rights to immediate possession of

the $8000 at issue.

       59.     Don Lanphere has demanded that Terry Schwabe, Tom Lawrence and 1 Corp. give

back or return the $8000, but they have failed to do so.



       WHEREFORE, plaintiff Don Lanphere prays that this Court enter judgment against the

Defendants as follows:

       A.      That the ‘502 patent is valid and enforceable;

       B.      That the Defendants have been and are infringing the ‘502 patent pursuant to 35

U.S.C. §271;

       C.      That the Defendants, their agents, officers, servants, employees, attorneys, successors,

companies, customers and assignees, and all those in active concert or participation with them, be

preliminarily, permanently and finally enjoined from activities infringing upon the ‘502 patent;

       D.      That the Defendants’ infringement of the ‘502 patent has been willful;

       E.      That this Court award damages adequate to compensate Don Lanphere for the

Defendants’ infringement of the ‘502 patent pursuant to 35 U.S.C. §284 and 35 U.S.C. §289;

       F.      That this Court award treble damages pursuant to 35 U.S.C. §284;

       G.      That this is an exceptional case pursuant to 35 U.S.C. §285;

       H.      That this Court award reasonable attorneys’ fees pursuant to 35 U.S.C. §285;

       I.      That the Defendants have infringed upon the distinctive and source identifying trade

dress in the patented product and patented design under 15 U.S.C. §1125 and at common law; have

competed unfairly with Don Lanphere under §43 of the Lanham Act and at common law, have


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violated the Illinois Uniform Deceptive Trade Practices Act, 815 ILCS 510/2; and have otherwise

injured Don Lanphere’s business and have misappropriated Don Lanphere’s rights by using the

distinctive and source identifying trade dress in the patented product and patented design in

connection with the Defendants’ competing products without permission or license;

        J.      That this Court preliminarily, permanently and finally enjoin the Defendants, their

agents, officers, servants, employees, attorneys, successors, companies, customers and assignees, and all

those in active concert or participation with them, from using the distinctive and source identifying

trade dress in the patented product and patented design or from using any other confusingly similar

design, and from infringing Don Lanphere’s trade dress, and damaging the business of Don Lanphere

and otherwise competing unfairly with Don Lanphere;

        K.      That this Court issue an order requiring the Defendants and all those in privy or

concert therewith to deliver up for destruction all infringing products, including containers, labels,

signs, packages, wrappers, articles and promotional and advertising materials of any kind, in their

possession or under their control relating to the infringing products;

        L.      That this Court award to Don Lanphere such damages as he has sustained in

consequence of the Defendants’ infringement, unfair competition, false designation of origin, and other

unlawful acts and activities, as well as the Defendants’ profits, and to account for all gains, profits and

advantages derived by the Defendants therefrom, and to award appropriate exemplary and/or treble

damages so as to set an example that the willful acts of the Defendants cannot be condoned and further

damages under 15 U.S.C. §1117 for willfulness should be awarded to Don Lanphere;

        M.      That all costs and expenses in this action, including reasonable attorney's fees as

provided for inter alia by 15 U.S.C. §§1117 and 1125, and appropriate interest on all damages


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sustained by Don Lanphere, be taxed in favor of Don Lanphere and against the Defendants and that

Don Lanphere shall have judgment and execution thereof against the Defendants;

          N.    That Don Lanphere be awarded punitive damages under the unfair competition

common law;

          O.    That Don Lanphere be awarded $8000 under the common law of conversion; and

          P.    That this Court grant all other relief as this Court may deem just and proper.

                                                      Respectfully submitted,

                                                      DONALD J. LANPHERE, JR.



Date: July 29, 2010                           By:      s/Charles T. Riggs Jr.
                                                      One of the Attorneys for Plaintiff

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                          EXHIBIT E
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